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      Federal Defender
 2    DAVID M. PORTER, # 127024
      Assistant Federal Defender
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      Sacramento, CA 95814
 4    Telephone: (916) 498-5700
      Fax: (916) 498-5710
 5
      Attorneys for Defendant
 6    TROY DONAHUE BARRON
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10        UNITED STATES OF AMERICA,                  )   Case No. S 96-190 JAM 2
                                                     )
11                           Plaintiff,              )   Unopposed Request to Extend Deadline
                                                     )   for Filing a Supplement or Other
12        v.                                         )   Appropriate Response; Order
                                                     )
13        TROY DONAHUE BARRON,                       )
                                                     )
14                           Defendant.              )   Judge: Honorable JOHN A. MENDEZ
                                                     )
15                                                   )
16              On January 28, 2019, defendant, TROY DONAHUE BARRON, filed a pro se
17    motion to reduce his sentence pursuant to the First Step Act of 2018. Dkt. 382. On
18    January 29, 2019, this Court issued a minute order directing the Office of the Federal
19    Defender to file a supplement or other appropriate response not later than March 1, 2019.
20    Due to a calendaring error, this deadline was not noted.1
21              The undersigned is the attorney responsible for assisting defendants convicted in
22    the Eastern District of California seeking sentence reductions pursuant to Section 404 of
23    the First Step Act. The undersigned has been in contact with Mr. Barron but because of
24    the age and complexity of the case, an extension is needed to obtain documents and
25    analyze the relevant issues raised by the motion. Accordingly, the undersigned
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28
       The undersigned apologizes to the court for this oversight and has taken measures to
      avoid its recurrence.
          Unopposed Request to Extend Deadline for        -1-          United States v. Troy Donahue Barron,
          Filing a Supplement or Other Appropriate                                       Civ. S 96-190 JAM 2
          R          Od
     Case 2:96-cr-00190-JAM-GGH Document 385 Filed 03/21/19 Page 2 of 3


 1    respectfully requests an extension until April 22, 2019, to file a supplement or other
 2    appropriate response to defendant’s pro se motion filed January 28, 2019. A proposed
 3    order is lodged herewith.
 4           Government counsel, Assistant U.S. Attorney Jason Hitt, has been informed of
 5    this request and has no opposition thereto.
 6    Date: March 30, 2019
 7                                                Respectfully submitted,
 8                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 9
10                                                /s/ David M. Porter
                                                  DAVID M. PORTER
11                                                Assistant Federal Defender
12                                                Attorneys for Defendant
                                                  TROY DONAHUE BARRON
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       Unopposed Request to Extend Deadline for     -2-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
       R          Od
     Case 2:96-cr-00190-JAM-GGH Document 385 Filed 03/21/19 Page 3 of 3


 1                                                ORDER
 2           Pursuant to defendant’s request, and good cause appearing therefor, the Office of
 3    the Federal Defender is directed to file a supplement or other appropriate response on or
 4    before April 20, 2019
 5           IT IS SO ORDERED.
 6    Dated: March 20, 2019                        /s/ John A. Mendez________________
                                                   HONORABLE JOHN A. MENDEZ
 7
                                                   United States District Court Judge
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       Unopposed Request to Extend Deadline for     -3-           United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                     Civ. S 96-190 JAM 2
       R          Od
